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                                                                             21st Floor
                                                                             1251 Avenue of the Americas
                                                                             New York, NY 10020-1104

                                                                             Geoffrey Brounell
                                                                             212.489.8230 tel
                                                                             212.489.8340 fax

                                                                             GeoffreyBrounell@dwt.com




                                       February 4, 2022


 VIA ELECTRONIC FILING & EMAIL

 Honorable Michael B. Kaplan
 U.S. Bankruptcy Court for the District of New Jersey
 402 East State Street
 Trenton, NJ 08608
 Courtroom #8

                Re: In re LTL Management, LLC (Case No. 21-30589(MBK))

 Dear Judge Kaplan:

        We represent non-party Reuters News & Media, Inc. (“Reuters”) and write in further
 regards to LTL Management, LLC and Johnson & Johnson’s (together “Movants”) Motion for
 Temporary Restraining Order and Preliminary Injunction (Dkt. No. 1359) (the “Motion”) and
 Movants’ Application for Order Shortening Time (Dkt. No. 1360).

         Please be advised that in accordance with our letter from earlier today (Dkt. No. 1377),
 Reuters has now published the article. See Ex. A. We have advised Movants’ counsel of the
 publication. As a result, any injunctive relief issued in response to the Motion would be moot.
 See United States v. Bolton, 2020 WL 3401940, at *4 (D.D.C. June 20, 2020) (denying request for
 injunctive relief after book was shipped to retailers around the world because the “horse is not just
 out of the barn—it is out of the country”). Reuters, therefore, respectfully requests that the Court
 deny the Motion.

         If the Court decides that briefing on the Motion is still necessary, Reuters requests that
 the Court enter a briefing schedule providing Reuters with an opportunity to respond.

                                               Respectfully,

                                               Davis Wright Tremaine LLP

                                               /s/ Geoffrey Brounell

                                               Geoffrey Brounell
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